Case 2:16-cv-01444-JRG-RSP Document 31 Filed 09/18/17 Page 1 of 1 PageID #: 92




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    § Case No: 2:16-cv-1444-JRG-RSP
                                    §
      vs.                           § LEAD & CONSOLIDATED CASE
                                    §
GOPRO, INC.                         §
                                    §
      Defendant.                    §
___________________________________ §
.
                   ORDER OF DISMISSAL WITH PREJUDICE

         On this date, the Court considered Plaintiff Rothschild Connected Devices Innovations,

  LLC’s Unopposed Motion to Amend Order Dismissing Case to a Dismissal with Prejudice.

  Having considered the circumstances surrounding this matter, as well as the fact that the matter

  stands fully resolved, the Court finds that the motion should be granted.

       Therefore, IT IS ORDERED that all claims asserted by Rothschild Connected Devices

  Innovations, LLC against GoPro, Inc. are dismissed with prejudice, each party to bear its own

  fees and costs.
         SIGNED this 3rd day of January, 2012.
        SIGNED this 18th day of September, 2017.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE
